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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

                                                 )
 ASTELLAS PHARMA INC., et al.,                   )
                                                 )
                  Plaintiffs,                    )
                                                 )
       v.                                        )
                                                 )      C.A. No. 20-1589-JFB-CJB
 SANDOZ INC., et al.,                            )
                                                 )
                  Defendants.                    )
                                                 )
                                                 )

                        STIPULATION AND [PROPOSED] ORDER

       IT IS HEREBY STIPULATED by Plaintiffs Astellas Pharma Inc., Astellas Ireland Co.,

Ltd., and Astellas Pharma Global Development, Inc. (collectively, “Plaintiffs”) and Defendant

Sandoz Inc. (“Sandoz”), subject to approval of the Court, that the time for Sandoz to move, plead

or otherwise respond to the Complaint is extended until March 16, 2021.
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Dated: January 21, 2021

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Attorneys for Plaintiffs Astellas Pharma
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Pharma Global Development, Inc.


      IT IS SO ORDERED this______ day of __________, 2021.

                                                        ______________________________
                                                        United States District Judge


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